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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                     Plaintiffs,
                                                   Civil Action No. 3:22-cv-49
      v.

      MAST et al.,

                     Defendants.


             FEDERAL DEFENDANTS’ REPLY IN SUPPORT OF FEDERAL
                DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
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                                         INTRODUCTION

            This Court should grant the Motion for Protective Order (“Motion”) [ECF 203]

     requested by the United States Secretary of State Antony Blinken and United States

     Secretary of Defense General Lloyd Austin (“Nominal Defendants”). Nominal Defendants

     are not properly subject to party discovery in this case because, as is undisputed, no claims

     are asserted against, and no relief is sought from, Nominal Defendants, and no statutory

     waiver of Nominal Defendants’ sovereign immunity has been invoked by any party.

     Accordingly, the Court lacks jurisdiction to subject Nominal Defendants to the burdens of

     suit imposed on party litigants in this case, including party discovery.

            In their oppositions to Nominal Defendants’ Motion, Defendants Joshua and

     Stephanie Mast (the “Masts”) [ECF 209] and Richard Mast (“RMast”) [ECF 210]

     (collectively, “Opposing Defendants”) do not try to identify an applicable waiver of

     sovereign immunity, nor do they cite a single case where a similarly-situated federal

     nominal defendant, facing no claims or requests for relief, has been subjected to party

     discovery absent such a waiver. Instead, they rely entirely on Rule 34 and the notion that

     Nominal Defendants can only avoid party discovery by seeking dismissal, despite the

     absence of any claims against them to dismiss. But this ignores binding authority

     recognizing that the Federal Rules themselves do not waive sovereign immunity, nor can

     Nominal Defendants waive sovereign immunity by failing to file a motion to dismiss.

            The Fourth Circuit’s decision in COMSAT Corp. v. NSF, 190 F.3d 269 (4th Cir.

     1999), compels the conclusion that, because sovereign immunity bars party discovery of

     Nominal Defendants under the circumstances of this case, Nominal Defendants should not

     be viewed as parties under Rule 34. Instead, any discovery requests directed to Nominal
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     Defendants, or other federal agencies, should be channeled through the relevant agency’s

     Touhy regulations and a Rule 45 subpoena. Only when the agency has provided its final

     response to a subpoena is there a final agency action that can be challenged under the

     Administrative Procedure Act (“APA”), invoking the waiver of sovereign immunity, and

     standard of review, available under that statute.1

                                           ARGUMENT

     I.     RMast Fails to Identify an Applicable Waiver of Sovereign Immunity that
            Would Allow for Party Discovery of Nominal Defendants

            As explained in Nominal Defendants’ opening Memorandum (“Mem.”) [ECF 204],

     Plaintiffs identified Nominal Defendants in their amended complaint but made clear that

     no claims were asserted against, and no relief was sought from, Nominal Defendants. Mem.

     at 4-5. Neither Plaintiffs nor any other party has identified a “waiver of the Federal

     Government’s sovereign immunity,” “unequivocally expressed in statutory text,” that




     1
       None of the Opposing Defendants provide a substantive response to Nominal Defendants’
     other arguments regarding why RMast’s Requests for Production (“RFPs”) are
     inappropriate. RMast simply asserts that Nominal Defendants are precluded from raising
     those arguments because, he contends, “Federal Defendants made no effort to meet and
     confer on these objections.” RMast Opp. at 3. However, Nominal Defendants complied
     with Rule 26(c)(1) by first setting forth these arguments in correspondence sent to RMast
     by e-mail on April 11, 2023, see Ex. B to Nominal Defendants’ Memorandum [ECF 204-
     1], and then attempting to confer by telephone, but counsel for RMast was out of the office
     until Nominal Defendants’ April 17, 2023 deadline and did not agree to extend that
     deadline. When counsel spoke by telephone on April 17, 2023, they did not reach
     agreement on whether Nominal Defendants were properly subject to party discovery at all
     and therefore agreed that it would not be productive to discuss Nominal Defendants’ other
     objections, but counsel did not discuss any specific procedure for raising or discussing
     those objections at a later time. Should the Court reject Nominal Defendants’ argument
     that sovereign immunity bars party discovery against Nominal Defendants, Nominal
     Defendants are not opposed to further discussion with RMast in an effort to narrow
     disputed issues. However, the Court would be well within its discretion to grant Nominal
     Defendants’ motion based on its review of the RFPs themselves, which on their face seek
     information that is irrelevant and clearly disproportionate to the needs of this case.
                                                  2
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     would apply to Nominal Defendants’ role in this case. Lane v. Pena, 518 U.S. 187, 192

     (1996); Mem. at 6-7. Accordingly, Nominal Defendants are not properly subject to the

     “burdens of suit,” which includes party discovery under Rule 34. See Pearson v. Callahan,

     555 U.S. 223, 231, 237 (2009); see also Larson v. Domestic & Foreign Com. Corp., 337

     U.S. 682, 703–04 (1949) (recognizing sovereign immunity is “a jurisdictional bar to suit

     against the United States” and that this bar encompasses any judicial action that would

     “restrain the government from acting” or “compel it to act”); Russell v. Jones, 49 F.4th

     507, 514 (5th Cir. 2022) (recognizing “sovereign immunity is an immunity from suit

     (including discovery), not just liability”).

             The Opposing Defendants do not contest the basic principle that a waiver of

     sovereign immunity would be necessary to assert a claim against, or seek relief from,

     Nominal Defendants. But they argue that no waiver is needed to subject Nominal

     Defendants to party discovery under Rule 34. See Masts’ Opp. at 2-3; RMast Opp. at 5.

     The Opposing Defendants are incorrect under Fourth Circuit authority.

             As explained in Nominal Defendants’ opening brief, courts in this Circuit, like

     other courts, consistently recognize that immunity from suit properly shields the immune

     party from the burdens of discovery. Mem. at 7-8. The Masts attempt to distinguish cases

     that either denied discovery altogether because a party was indisputably immune (Bulger

     v. Hurwitz, 62 F.4th 127, 144–45 (4th Cir. 2023)); or recognized that an immediate appeal

     may be warranted to shield an immune party from discovery (Pearson, 555 U.S. at 231,

     237; Carswell v. Camp, 54 F.4th 307, 311 (5th Cir. 2022)). They also point to a case that

     granted limited discovery when a party’s qualified immunity was in dispute (Rich v. United

     States, 811 F.3d 140, 146-48 (4th Cir. 2015) (denying discovery where immunity was not



                                                    3
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     subject to dispute but granting limited jurisdictional discovery where a legitimate dispute

     existed)). But all of these cases recognize that parties immune from suit should not be

     subject to discovery, and the Opposing Defendants cite no case that says otherwise.2

            It is beyond dispute that Rule 34 itself does not waive Nominal Defendants’

     sovereign immunity. E.g., Upsher-Smith Lab'ys, Inc. v. Fifth Third Bank, No. 16-CV-556,

     2017 WL 7369881, at *4 (D. Minn. Oct. 18, 2017) (“The Federal Rules of Civil Procedure

     do not by themselves provide a waiver of sovereign immunity to give the court jurisdiction

     to order the government to produce documents via a motion to compel.” (citing U.S. Envtl.

     Prot. Agency v. Gen. Elec. Co., 197 F.3d 592, 598 (2d Cir. 1999), opinion amended on

     reh'g, 212 F.3d 689 (2d Cir. 2000)). Indeed, the Fourth Circuit squarely addressed the

     relationship between sovereign immunity and the Federal Rules in COMSAT. The court of

     appeals there rejected the district court’s conclusion that Rule 45 by itself was a sufficient

     basis to compel a federal agency’s compliance with subpoenas seeking documents and

     depositions. COMSAT Corp., 190 F.3d at 273-74. Rather, sovereign immunity confers on

     the Government “the power to refuse compliance with a subpoena.” Id. at 277. The Fourth

     Circuit’s holding in COMSAT refutes the Opposing Defendants’ arguments in two respects.

     First, it recognizes that a waiver of sovereign immunity is required to subject a federal

     agency to discovery (in that case, third-party discovery through a subpoena), and second,

     it recognizes that the Federal Rules do not provide that waiver.




     2
       Here, unlike in Bulger or Rich, the discovery sought by RMast is not aimed at disputing
     Nominal Defendants’ sovereign immunity, nor could it be. Unlike those cases, which
     address the qualified immunity of individual federal officials, Nominal Defendants’
     sovereign immunity is not qualified or subject to potential exceptions based on disputed
     facts. Rather, only an express statutory provision could waive Nominal Defendants’
     immunity. Lane, 518 U.S. at 192.
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             The Fourth Circuit did recognize that, with respect to an agency’s refusal to comply

     with a Rule 45 subpoena, the APA—not the Federal Rules—might waive sovereign

     immunity, provided the APA’s other requirements were satisfied. COMSAT Corp., 190

     F.3d at 274, 277 (recognizing the APA provided “the sole avenue for review of an agency’s

     refusal” to comply with a Rule 45 subpoena and that the APA’s “final agency action”

     requirement and deferential judicial review were therefore applicable). Here, however, the

     Opposing Defendants disclaim any intent to rely on the APA. See Masts Opp. at 3; RMast

     Opp. at 2 (incorporating the Masts’ opposition and otherwise failing to mention the APA).

     Nor is there any precedent for applying the APA’s waiver piecemeal to subject a federal

     agency that otherwise retains sovereign immunity to some aspects of suit, such as party

     discovery. Cf. Russell, 49 F.4th at 514 (“Where sovereign immunity applies, it applies

     totally.”).

             Under the circumstances here, where no waiver of sovereign immunity has been

     identified, and Nominal Defendants otherwise face no claims or requests for relief in the

     case, Nominal Defendants should not be considered “parties” within the meaning of Rule

     34. Cf. Nardone v. United States, 302 U.S. 379, 383 (1937) (explaining that “general words

     of a statute do not include the government or affects its rights” absent clear, indisputable

     statutory language, particularly where the text, “if not so limited, would deprive the

     sovereign of a recognized or established prerogative title or interest”). The Opposing

     Defendants cite no case where any entity—much less a federal agency or official—

     expressly designated as a “nominal defendant” only, where the plaintiff expressly

     disclaimed any intent to assert claims against or seek relief from it, was held to be a “party”

     for discovery purposes. RMast cites a single, unpublished decision from another district



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      court, but that case did not involve a federal agency, nor did it consider whether a “nominal

      defendant” qualifies as a party under Rule 34; rather, it distinguished cases addressing

      nominal defendants by noting that Wells Fargo “as trustee,” the purported “nominal party”

      seeking to avoid Rule 34 discovery, was actually a plaintiff, and was the same entity as

      “Wells Fargo the financial institution,” which was indisputably a party. See Wells Fargo

      Bank, N.A. v. Lincoln Nat'l Life Ins. Co., No. 10-cv-703, 2011 U.S. Dist. LEXIS 86411, at

      *7, 9-10 (N.D. Okla. Aug. 4, 2011). The case therefore is wholly inapposite.

             The Masts also cite a series of inapposite cases, none of which involve Government

      defendants similarly situated to Nominal Defendants here. Masts Opp. at 5. In three of

      these cases, the “United States” brought suit or intervened as plaintiff prosecutor, and the

      question was which agencies were involved in the prosecution, and thus could be subject

      to party discovery.3 In a fourth case, North Dakota v. United States, No. 1:19-CV-150,

      2021 WL 6278456, at *1, 6 (D.N.D. Mar. 24, 2021), where the plaintiff state brought suit

      against the United States, invoking the waiver of sovereign immunity in the Federal Tort

      Claims Act, the court’s holding that a number of agencies could be subjected to party

      discovery says nothing about discovery of a nominal defendant in the absence of a waiver.

      And in Trane Co. v. Klutznick, 87 F.R.D. 473, 476–78 (W.D. Wis. 1980), where the

      plaintiff challenging the constitutionality of a statute asserted claims against, and sought




      3
        See USA v. Xlear Inc., No. 2:21-CV-640, 2022 WL 5246717, at *2 (D. Utah Oct. 6, 2022)
      (holding only the agency engaged in the prosecution could be subject to party discovery
      under Rules 33 or 34); United States v. UBS Sec. LLC, No. 118CV6369, 2020 WL
      7062789, at *7 (E.D.N.Y. Nov. 30, 2020) (concluding several agencies played a role in the
      prosecution); Deane v. Dynasplint Sys., Inc., No. 10-cv-2085, 2015 WL 1638022, at *4–5
      (E.D. La. Apr. 13, 2015) (accepting prosecutors’ suggestion of which agencies were
      involved in prosecution of a False Claims Act case and would thus be subject to party
      discovery).
                                                   6
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      relief from, a number of federal officials, including the President, the court held that the

      President was subject to discovery, but the issue of sovereign immunity was not addressed.

             The Opposing Defendants thus fail to support their argument with any relevant

      authority. Yet their construction of Rule 34 would not only subject Nominal Defendants to

      party discovery in the absence of any waiver of sovereign immunity, but it would also

      allow the Opposing Defendants to bypass agency Touhy regulations that otherwise “govern

      the conditions and procedures by which” agencies provide third-party discovery. United

      States v. Soriano-Jarquin, 492 F.3d 495, 504 (4th Cir. 2007). 4 Nominal Defendants

      therefore would be denied sovereign immunity as well as other prerogatives simply

      because Plaintiffs chose to name Nominal Defendants in their complaint while declining

      to assert any claims or seeking any relief from them.

             On the other hand, as discussed above, there is ample basis under governing law to

      exclude Nominal Defendants as “parties” under Rule 34. This is the only result consistent

      with principles of sovereign immunity. The Court therefore should hold that Nominal

      Defendants are not subject to party discovery in this case.

      II.    Nominal Defendants Need Not Move to Dismiss in Order to Retain Their
             Sovereign Immunity and Avoid Party Discovery

             Although the Opposing Defendants appear to concede that Nominal Defendants are

      entitled to sovereign immunity, they argue that Nominal Defendants cannot invoke

      sovereign immunity as a basis to bar party discovery unless Nominal Defendants first file



      4
        The Opposing Defendants argue that Nominal Defendants could not be subjected to
      Touhy requests or Rule 45 subpoenas, pursuant to the well-established procedures
      established in COMSAT, because Nominal Defendants are not non-parties. Masts Opp. at
      2, 4. But this reasoning is entirely circular. If the Court agrees that Nominal Defendants
      are not subject to party discovery, Nominal Defendants indisputably would qualify as non-
      parties for purposes of Touhy and Rule 45.
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      a motion to dismiss. Masts Opp. at 1-2, 5-6; RMast Opp. at 5. However, Opposing

      Defendants have it backwards. Nominal Defendants do not waive sovereign immunity

      simply because they have not filed a motion to dismiss. Cf. United States v. U. S. Fid. &

      Guar. Co., 309 U.S. 506, 513–14 (1940) (recognizing sovereign immunity “cannot be

      waived by officials” who fail to object to a court’s jurisdiction but only by Congress);

      United States v. Shaw, 309 U.S. 495, 503 (1940) (recognizing that the Executive Branch’s

      assertion of an affirmative claim does not waive its sovereign immunity against

      counterclaims but instead any such waiver must derive from “specific congressional

      authority”). Indeed, while the Masts suggest that the absence of any claim against Nominal

      Defendants calls for a motion to dismiss under Rule 12(b)(6) for failure to state a claim

      upon which relief can be granted, Masts Opp. at 2, such a motion would be superfluous

      here. After all, Plaintiffs do not purport to state a claim against Nominal Defendants, nor

      do they seek relief from Nominal Defendants, so Nominal Defendants need not move to

      dismiss in order to establish that no claim is stated that could warrant relief.

             Nor should the Court accept the Masts’ invitation to dismiss Nominal Defendants

      from this case sua sponte or based on a footnote in their opposition brief. See Masts Opp.

      at 4 & n.4. Nominal Defendants explained in their opening brief that they have already had

      occasion to assert the United States’ interests in this case pursuant to 28 U.S.C. § 517—

      specifically in order to protect United States Government information. Mem. at 5 n.1. To

      be sure, the United States could have taken the same or similar steps to address its interests

      pursuant to 28 U.S.C. § 517 even without Nominal Defendants’ designation as nominal

      defendants. Mem. at 5 n.1. Nominal Defendants also anticipate that any further filing they

      may submit in this case would also be permissible pursuant to 28 U.S.C. § 517. At the same



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      time, Nominal Defendants anticipate that this case will involve a great deal of United States

      Government information that other parties in the case have already obtained through

      various means, including through Joshua Mast’s status as a Department of Defense

      employee as well as parties’ participation in state court proceedings addressing the status

      of the same child at issue here. Moreover, the parties in this case have already filed United

      States Government information under seal, which would not be as easily accessible to the

      United States without nominal defendant status. E.g., Am. Compl. ex. 1 [ECF 77] (the

      United States’ Statement of Interest filed in another case); Exhibits to RMast brief [ECF

      181]. Remaining in the case as Nominal Defendants—with the understanding that they face

      no claims or demands for relief and are not subject to party discovery—promotes judicial

      economy by simplifying Nominal Defendants’ ability to monitor proceedings and address

      the United States’ interests as necessary pursuant to § 517.

             Under these circumstances, Nominal Defendants have seen no need as yet to seek

      dismissal. Indeed, even though RMast urges that Nominal Defendants be dismissed, he

      acknowledges that Nominal Defendants might then move to intervene in order to protect

      confidential United States Government information. RMast Opp. at 7-8. That—to use

      RMast’s own language—would be silly, and it would be unnecessary if Nominal

      Defendants simply remain in the status quo.5



      5
        To the extent RMast seeks to imply that a federal agency that moves to intervene in order
      to assert the state secrets privilege thereby subjects itself to party discovery, the cases he
      cites do not support that proposition. In Fitzgerald v. Penthouse Int'l, 776 F.2d 1236, 1238
      (4th Cir. 1985), the Court of Appeals affirmed the district court’s grant of the
      Government’s motion to dismiss based solely on an in camera affidavit. In Wever v. Aecom
      Nat’l Sec. Programs, Inc., No. 1:17-cv-200, 2017 U.S. Dist. LEXIS 237762, at *22-23
      (E.D. Va. June 15, 2017), the court also accepted the Government’s assertion of the state
      secrets privilege based on declarations and concluded that the case could not proceed. And
      in Restis v. Am. Coal. Against Nuclear Iran, Inc., No. 13-cv-5032, 2015 U.S. Dist. LEXIS
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                                          CONCLUSION

             For the foregoing reasons and those set forth in Nominal Defendants’ opening brief,

      Nominal Defendants’ Motion for Protective Order should be granted, and the Court should

      forbid the discovery sought by RMast from Nominal Defendants pursuant to Rule 34.

      May 8, 2023                                 Respectfully submitted,

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      36085, at *20 (S.D.N.Y. Mar. 23, 2015), the court similarly dismissed the case based on in
      camera affidavits submitted by the Government in support of the privilege, and also denied
      the plaintiff’s motion to compel the Government to disclose the classified basis for its
      assertion.
                                                 10
